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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 

x
ROMA TORRE et al.,
Plaintiffs, 19-CV-5708 (JMF)
-v- . ORDER
CHARTER COMMUNICATIONS, INC., d/b/a |
SPECTRUM,
Defendant. :
x

 

JESSE M. FURMAN, United States District Judge:

In light of the COVID-19 situation, the Court will not hold the upcoming conference in
this case in person. Counsel should submit their proposed case management plan and joint letter
by the Thursday prior to the conference, as directed in the Court’s earlier Scheduling Order and
Opinion and Order granting in part and denying in part Defendant’s motion to dismiss. In their
joint letter, the parties should also indicate whether they can do without a conference altogether.
If so, the Court may enter a case management plan and scheduling order and the parties need not
appear. If not, the Court will hold the initial conference by telephone, albeit perhaps at a
different time. To that end, counsel should indicate in their joint letter dates and times during the
week of the conference that they would be available for a telephone conference. In either case,
counsel should review and comply with the Court’s Emergency Individual Rules and Practices in
Light of COVID-19, available at https://nysd.uscourts.gov/hon-jesse-m-furman.

SO ORDERED. C3 ;
Dated: November 2, 2020

New York, New York Jase M-FURMAN
hin States District Judge
